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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                     Crim. Action No.: 1:20CR20-4
                                                            (Judge Kleeh)

 DAVID CHRISTOPHER MONROE,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 141],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On November 18, 2020, the Defendant, David Christopher Monroe

 (“Monroe”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Ten of the Superseding Indictment, charging him with Possession

 with Intent to Distribute Fifty Grams or More of Methamphetamine,

 in violation of Title 21, United States Code, Sections 841(a)(1)

 and 841(b)(1)(A)(viii). This Court referred Defendant’s plea of

 guilty to the magistrate judge for the purpose of administering

 the allocution, pursuant to Federal Rule of Criminal Procedure 11,

 making     a   finding   as   to   whether   the   plea   was   knowingly   and

 voluntarily entered, and recommending to this Court whether the

 plea should be accepted. Monroe stated that he understood that the

 magistrate judge is not a United States District Judge, and Monroe

 consented to pleading before the magistrate judge.
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       Based upon Defendant Monroe’s statements during the plea

 hearing    and   the   Government’s       proffer   establishing   that   an

 independent factual basis for the plea existed, the magistrate

 judge found that Defendant Monroe was competent to enter a plea,

 that the plea was freely and voluntarily given, that he was aware

 of the nature of the charges against him and the consequences of

 his plea, and that a factual basis existed for the tendered plea.

 The magistrate judge issued a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 141] finding a

 factual basis for the plea and recommending that this Court accept

 Defendant Monroe’s plea of guilty to Count Ten of the Superseding

 Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.         He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.            Neither the Defendant

 nor the Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 141], provisionally ACCEPTS Defendant Monroe’s guilty




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 plea, and ADJUDGES him GUILTY of the crime charged in Count Ten of

 the Superseding Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.    The Probation Officer shall undertake a presentence

 investigation of Monroe, and prepare a presentence investigation

 report for the Court;

       2.    The Government and Defendant Monroe shall each provide

 their narrative descriptions of the offense to the Probation

 Officer by December 18, 2020;

       3.    The presentence investigation report shall be disclosed

 to Defendant Monroe, counsel for Defendant, and the Government on

 or before February 16, 2021; however, the Probation Officer shall

 not disclose any sentencing recommendations made pursuant to Fed.

 R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 investigation report on or before March 1, 2021;

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       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 February 17, 2021; and

       6.    Counsel may file any written sentencing memorandum or

 statements      and    motions    for   departure   from   the    Sentencing

 Guidelines, including the factual basis for the same, on or before

 March 3, 2021.

       The magistrate judge remanded Defendant to the custody of the

 U.S. Marshal Service.

       The Court will conduct the Sentencing Hearing for Defendant

 on March 15, 2021, at 2:30 P.M., at the Clarksburg, West Virginia

 point of holding court.          If counsel anticipates having multiple

 witnesses    or   an   otherwise    lengthy   sentencing   hearing,   please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: December 8, 2020.


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




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